    Case 23-02826-jd            Doc 127       Filed 06/27/24 Entered 06/27/24 09:33:05                         Desc Main
                                              Document      Page 1 of 2
                                        UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF SOUTH CAROLINA

    IN RE:                                     )
                                               )      B/K Case No. 23-02826-EG
    JOSHUA ALLEN INGRAM and                    )
    ASHLEY INGRAM                              )      Chapter 7
                         Debtors.              )
    _____________________________________________________________________________________________

                      CONSENT ORDER AVOIDING JUDICIAL LIEN (11 U.S.C. §522(f)(1)(A))
                               EQUITY ANALYSIS/CO-OWNED PROPERTY


    Before the Court is the motion of the debtor to avoid the judicial lien held by the following creditors:

                                                Applicable
Name of creditor and                                           Non-
                                Total      Debtor’s
                                                Exemption                Estimated                  Judicial lien Judicial lien
description of property                                      exempt
                               Equity       Equity
                                                 and Code               Judicial Lien               not avoided avoided
securing lien                                                 Equity
                                                  Section
Concrete Supply        $196,827.34 $98,413.67 $67,100.00    $31,313.67 $39,897.94                    $31,313.67      $8,584.27
Co., LLC                                       S.C. Code
1016 Mt. Whitney Drive                         §15-41-30(A)(1)
Summerville, SC 29483

        The Court finds that the judicial lien of the above-named creditors impairs the exemptions to which the debtor would
otherwise be entitled under 11 U.S.C. § 522(b) and Chapter 41 of Title 15, Code of Laws of South Carolina, 1976 (as
amended), as to the above described property only, and that the judicial lien should therefore be avoided pursuant to 11
U.S.C. §522(f)(1)(A) in the amount set forth above.

         Therefore, IT IS ORDERED that the judicial lien held by the above-named creditor as to the above described
property only is avoided in the amount set forth above. Any judicial lien set forth above which is avoided in full may be
canceled of record at any time after thirty (30) days after a discharge in this case is granted.

        AND IT IS SO ORDERED.




      FILED BY THE COURT
          06/27/2024




                                                                    Elisabetta G. M. Gasparini
                                                                    US Bankruptcy Judge
                                                                    District of South Carolina


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    Case 23-02826-jd         Doc 127          Filed 06/27/24 Entered 06/27/24 09:33:05   Desc Main
                                              Document      Page 2 of 2


I CONSENT:

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I CONSENT:

BEAL, LLC

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